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A0245D       (Rev. 09/11) Judgment in a Criminal Case for Revocations
             Sheet 1



                                      UNITED STATES DISTRICT COURT                                                      JAN 2 4 2013
                                                          Eastern District of Arkansas

          UNITED STATES OF AMERICA
                             v.                                         (For Revocation of Probation or Supervised Release)
             PAUL LESTER NEAL, JR.

                                                                        Case No. 4:07cr00317-20 JMM
                                                                        USM No. 25364-009
                                                                         Chris Tarver
                                                                                                Defendant's Attorney
THE DEFENDANT:
~ admitted guilt to violation of condition(s)           General, Standard & Special of the term of supervision.
D was found in violation of condition(s)              - - - - - - - - - - a f t e r denial of guilt.
The defendant is adjudicated guilty of these violations:

Violation Number                                           Nature of Violation                                  Violation Ended
General                           Failure to refrain from use of a controlled substance                     08/06/2012

Standard 2                        Failure to submit monthly reports to the probation officer                   12/05/2012

Standard 9                        Failuare to refrain from contact with a convicted felon                   05/24/2012
Special1                          Failure to submit to drug testing                                         01/17/2013
       The defendant is sentenced as provided in pages 2 through _ _;;;;;.2__ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D The defendant has not violated condition(s) - - - - - - - a n d is discharged as to such violation(s) condition.

          It is ordered that the defendant must notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
fully pa~d. ~f ordered to pay restitution, the defendant must notify the court and United States attorney of material changes m
economic cucumstances.

Last Four Digits of Defendant's Soc. Sec. No.: 4772                      01/24/2013
                                                                                           Date of Imposition of Judgment
Defendant's Year of Birth:          1981

City and State of Defendant's Residence:                                                         Signature of Judge
Batesville, Arkansas
                                                                         James M. Moody                               US District Judge
                                                                                              Name and Title of Judge

                                                                         01/24/2013
                                                                                                        Date
                      Case 4:07-cr-00317-JM Document 873 Filed 01/24/13 Page 2 of 2
 AO 245D    (Rev. 09/11) Judgment in a Criminal Case for Revocations
            Sheet 2- Imprisonment

                                                                                                Judgment - Page   2    of        2
 DEFENDANT: PAUL LESTER NEAL, JR.
 CASE NUMBER: 4:07cr00317-20 JMM


                                                               IMPRISONMENT

          The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
 total term of :
SIX (6) MONTHS




    D The court makes the following recommendations to the Bureau of Prisons:




    D   The defendant is remanded to the custody of the United States Marshal.

    D The defendant shall surrender to the United States Marshal for this district:
        D    at    --------- D                         a.m.      D     p.m.    on
        D    as notified by the United States Marshal.

    t/ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        ~ before 2 p.m. on _02_1_25_1_20_1_3_ _ _ _ __
        D    as notified by the United States Marshal.
        D    as notified by the Probation or Pretrial Services Office.

                                                                       RETURN

 I have executed this judgment as follows:




        Defendant delivered on                                                      to

 at - - - - - - - - - - - - - - with a certified copy of this judgment.




                                                                                            UNITED STATES MARSHAL


                                                                              By
                                                                                         DEPUTY UNITED STATES MARSHAL
